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                                                                         Honorable Thomas S. Zilly




                                   UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON AT SEATTLE

  VENICE PI, LLC,                                      Civil Action No. 17-cv-1075TSZ

                                 Plaintiff,            PLAINTIFF’S NOTICE OF VOLUNTARY
                                                       DISMISSAL OF DEFENDANTS
              v.

  GREGORY SCOTT;
  JOSHUA LONGLEY;
  DAMON DICKINSON;
  MICHAEL SMITH;
  SCOTT STEELE;
  MEGAN DEVILLERS;
  DONAVAN JOSEPH; and
  DEREK PERRY,

                                 Defendants.

            In “John Doe” copyright cases of the present type, this Court has previously required a
plaintiff to name a defendant once the account name for the IP address is known, stating that the

plaintiff can seek leave to amend later if discovery shows it to be necessary. E.g., Cobbler v. James,

Case No. 15-cv-1430TSZ (January 26, 2016, Dkt. 16); see also Dallas Buyers Club v. Does, Case

No. 15-cv-134RAJ (and others) (Dkt. 48). Requests to conduct more particularized discovery

before naming a defendant have been denied. At the time this action was filed, Plaintiff proceeded

in this fashion, with the understanding that the complaint satisfied all pleading requirements.




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            After this action was filed, the Court issued an order precluding Plaintiff from conducting

any discovery while also ordering Plaintiff to provide an offer of proof with respect to several

assertions in the case. (E.g., Dkts. 31, 39, 53) Plaintiff responded to this order, and others, and

sought leave to resume the proceedings. (E.g., Dkts. 35, 40, 51, 54). Since the time this action was

filed, Plaintiff has not been allowed to conduct discovery beyond the service of a subpoena to

secure the name of the ISP account holder.

            More than a year after the present complaint was filed, the Ninth Circuit issued a decision

which this Court describes as requiring the pleading in the complaint of “something more” to tie

the account holder to the infringing conduct. Cobbler Nevada, LLC v. Gonzales, 901 F.3d 1142

(9th Cir. 2018). Plaintiff has not been afforded any opportunity to timely conduct discovery into

such matters, and believes that in cases of this type a plaintiff should be allowed to gather facts

using Court-sanctioned discovery while it is still ripe. In this case, however, given the passage of

more than two years since the filing of the complaint, Plaintiff believes any meaningful

opportunities to obtain such discovery are now lost.

            Mindful of the foregoing and in an effort to conserve judicial and party resources, pursuant

to Rule 41(a)(1)(A)(i), Plaintiff hereby dismisses its claims against Defendants Scott, Longley,

Dickinson, Smith, Joseph and Perry without prejudice.

                                                  s/ David A. Lowe, WSBA No. 24,453
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